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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


ABRAHAM CALDERON,
                                                   Hon. John Z. Lee
                    Plaintiff,

         v.
                                                   Case No. 18-cv-08277
THE VILLAGE OF BRIDGEVIEW,
ILLINOIS, et al,

                    Defendants.



                    FIRST OPPOSED MOTION FOR 30 DAY EXTENSION
              OF TIME TO FILE RESPONSE TO FIRST AMENDED COMPLAINT

         Defendants Nelson Rodríguez (“Mr. Rodríguez”) and Mario Gonzalez (“Mr. Gonzalez”),

by their attorneys, hereby move this Court, under Fed. R. Civ. P. 6(b), for a first extension of

time to answer or otherwise plead to the First Amended Complaint of Plaintiff Abraham

Calderon (“Mr. Calderon”). In support, Messrs. Rodríguez and Gonzalez state as follows:

         1.      Mr. Calderon filed his initial complaint on December 17, 2018.

         2.      Mr. Calderon filed his First Amended Complaint on January 4, 2019.

         3.      Messrs. Rodríguez and Gonzalez accepted service through counsel.

         4.      On January 11, 2019, Messrs. Rodríguez and Gonzalez filed their Unopposed

Motion to Set Deadline to File a Response to Plaintiff’s First Amended Complaint. (Docket No.

23.)

         5.      On January 14, 2019, this Court granted the unopposed motion, setting a deadline

of February 6, 2019 for Messrs. Rodríguez and Gonzalez to answer or otherwise plead to the

First Amended Complaint. (Docket No. 29.)
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       6.      Messrs. Rodríguez and Gonzalez seek their first extension of time to answer or

otherwise plead. They respectfully request until March 8, 2019, to answer or otherwise plead to

the First Amended Complaint.

       7.      On February 5, 2019, counsel for Messrs. Rodríguez and Gonzalez contacted

counsel for Mr. Calderon, who indicated that he opposed a 30-day extension.

       8.      This motion is not brought for the purposes of delaying the proceedings and will

not prejudice any party.

       Wherefore, Nelson Rodríguez and Mario Gonzalez respectfully request that this Court

enter an order extending for 30 days—from February 6, 2019, to March 8, 2019—the time for

Mr. Rodríguez and Mr. Gonzalez to answer or otherwise plead to Mr. Calderon’s First Amended

Complaint.

Dated: February 5, 2019                      Respectfully submitted,

                                             NELSON RODRÍGUEZ AND MARIO GONZALEZ,

                                             By:    /s/ R. Matthew Hiller

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